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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

ROOT, INC., et al.,                             :       Case No. 2:23-cv-00512-SDM-CMV
                                                :
       Plaintiffs,                              :       Judge Sarah D. Morrison
                                                :
               v.                               :       Magistrate Judge Elizabeth A. Preston
                                                :       Deavers
BRINSON CALEB SILVER, et al.,                   :
                                                :
       Defendants.                              :


                                     RULE 26(f) REPORT

       Pursuant to Federal Rule of Civil Procedure 26(f), a meeting was held on January 12,
2024 and was attended by:

William Kloss, counsel for plaintiffs Root, Inc., Caret Holdings, Inc., and Root Insurance Agency,
LLC (collectively, “Root”),

Matthew Ridings, counsel for defendants Quantasy, LLC, Quantasy & Associates, LLC (together,
“Quantasy”), and William Campbell (collectively, the “Quantasy Defendants”), and

Joshua Epstein, counsel for Quantasy Defendants.

Counsel represent that, during the meeting, they engaged in a meaningful attempt to meet and
confer on the matters outlined below.

1.     CONSENT TO MAGISTRATE JUDGE

Do the parties consent to Magistrate Judge jurisdiction pursuant to 28 U.S.C. § 636(c)?

      Yes      X      No

2.     INITIAL DISCLOSURES

Have the parties agreed to make initial disclosures?

 X    Yes             No     _____The proceeding is exempt under Rule 26(a)(1)(B)

The parties have already engaged in significant paper discovery including interrogatories, request
for admission and document requests. Thus, the parties believe in good faith that they have made
the disclosures contemplated by Rule 26(a)(1)(A).
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 3.       VENUE AND JURISDICTION

 Are there any contested issues related to venue or jurisdiction?

 X      Yes             No

 If yes, describe the issue: Previously, the Quantasy Defendants filed a motion to dismiss that
 challenged personal jurisdiction and the issue was fully briefed (See Motion to Dismiss Doc # 94,
 Opposition Doc # 135 and Reply in Support Doc #145). The Court denied the Quantasy
 Defendants’ challenge to jurisdiction (See Court’s Opinion and Order Doc# 216). While the
 Quantasy Defendants do not anticipate further briefing they expressly reserve all rights and
 challenges to jurisdiction.

 If yes, the parties agree that any motion related to venue or jurisdiction shall be filed by
 See above.

 4.       PARTIES AND PLEADINGS

      a. The parties agree that any motion or stipulation to amend the pleadings or to join
         additional parties shall be filed by not applicable.

      b. If the case is a class action, the parties agree that the motion for class certification shall be
         filed by not applicable.

 5.       MOTIONS

      a. Are there any pending motion(s)?

          X     Yes             No

          If yes, indicate which party filed the motion(s), and identify the motion(s) by name and
          docket number: The remainder of a motion to quash relating to document subpoenas
          issued by Plaintiffs for banking records of the Quantasy Defendants (See Motion to
          Quash Doc # 185, Opposition Doc # 201 and Reply in Support Doc #212)

      b. Are the parties requesting expedited briefing on the pending motion(s)?

                Yes       X     No

          If yes, identify the proposed expedited schedule:

          Opposition to be filed by not applicable; Reply brief to be filed by not applicable.

 6.       ISSUES

 Jointly provide a brief description of case, including causes of action set forth in the complaint,
 and indicate whether there is a jury demand:
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 Joint Statement

 Root is a technology-based insurance company based in Columbus, Ohio offering property and
 casualty insurance. Defendant Brinson Caleb Silver (“Silver”) was formerly Root’s Chief
 Marketing Officer (“CMO”). Quantasy is a multicultural advertising agency based in Los Angeles,
 California. Campbell is Quantasy’s Chief Executive Officer. Under Silver’s direction, Root
 retained Quantasy to create and provide marketing services for Root. Root was billed and paid
 Quantasy approximately $15 Million pursuant to two Scope of Work agreements.

 Root’s Statement of the Issues

 Root’s Second Amended Complaint (Doc # 173) (the “Complaint”) alleges, inter alia, that:
       Silver and Campbell separately agreed that Quantasy would retain defendant Collateral
        Damage, LLC (“Collateral Damage”) as a subcontractor to perform work on the Root
        engagement.
       Quantasy paid Collateral Damage approximately $9.4 Million for the alleged work.
       Quantasy’s agreement with Collateral Damage was unknown to anyone at Root except
        Silver, and the subcontractor “agreement” was a sham.
       Collateral Damage did no substantive work and instead transferred the $9.4 Million to
        Silver, a corporation owned by Silver (defendant Eclipse Home Design, LLC). The funds
        were used to fund Silver’s lavish lifestyle including the purchase of three luxury homes,
        cars, jewelry, an airplane, a yacht, and extensive travel.
        When initially confronted, Quantasy did not disclose its relationship with Collateral
         Damage and instead represented to Root that significant funds were still available for the
         agreed upon marketing services. Subsequently Quantasy revealed that the bulk of the
         money paid to it by Root had been sent to Silver and Collateral Damage. Root believes
         that Quantasy also transferred significant Root funds to Campbell. Although Quantasy
         refunded $2.85 million to Root, in the end Root received virtually nothing in exchange for
         the $15 Million it paid to Quantasy.
 Root’s Complaint alleges Six Counts: Count I - Civil RICO pursuant to 18 U.S.C. §1962 (c)
 (against all Defendants), Count II - Fraudulent Concealment (against Silver and the Quantasy
 Defendants), Count III - Fraudulent Misrepresentation (against Silver and the Quantasy
 Defendants), Count IV – Conversion (against all Defendants), Count V - Civil Criminal Theft
 pursuant to O.R.C. §§2307.60 and 61 (against all Defendants); and Count VI - Civil Action for
 Telecommunications Fraud pursuant to O.R.C. §2913.05 (against Silver, the Quantasy Defendants
 and Collateral Damage). On January 8, 2024, the Court dismissed the Conversion Claim against
 the Quantasy Defendants (Count IV) and partially dismissed the Fraudulent Misrepresentation
 Claim against the Quantasy Defendants (Count III). All other claims and part of Count III remain.

 Quantasy Defendants’ Statement of the Issues

 The Quantasy Defendants deny the material allegations against them set forth in Root’s Complaint.
 The Quantasy Defendants assert that they were also victims of Silver’s fraud, and had no
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 knowledge of Silver’s scheme to steal Root’s money. In particular, the Quantasy Defendants
 contend that:
         Root employed, as its CMO, a fraudster who used his position at Root to steal millions of
          dollars from not only Root, but also Quantasy.
         Silver was able to steal millions from Root because of Root’s: (i) inadequate internal
          controls, (ii) failure to supervise its employees, (iii) hiring of Silver without adequate
          investigation, (iv) public conferral of corporate authority on Silver, including the
          appointment of Silver as CMO, which facilitated Silver in carrying out the fraud, (v)
          bestowal of millions of dollars in spending authority upon Silver without supervision, and
          (vi) failure to institute accounting controls that would have detected the fraud.
         Because the Complaint details a series of events where Root’s CMO – an officer of the
          company with actual and apparent authority – gave instructions to the advertising
          company that he hired on behalf of Root, and the Quantasy Defendants followed those
          instructions, the Quantasy Defendants were not part of a conspiracy or a RICO enterprise,
          and the claims against them should be dismissed with prejudice via summary judgment
          and/or at trial.

 7.       DISCOVERY PROCEDURES

      a. The parties agree that all discovery shall be completed by December 1, 2024. The parties
         agree
         to schedule their discovery in such a way as to require all responses to discovery to be
         served prior to the cut-off date, and to file any motions relating to discovery within the
         discovery period unless it is impossible or impractical to do so. If the parties are unable to
         reach an agreement on any matter related to discovery, they are directed to arrange a
         conference with the Court. To initiate a telephone conference, counsel are directed to join
         together on one line and then call the Magistrate Judge’s chambers or provide the Court with
         a call -in number.
      b. Do the parties anticipate the production of ESI?         X Yes       No

          If yes, describe the protocol for such production: The parties have agreed to, and the Court
          has entered a Stipulated Protective Order (Doc #69).


      c. Do the parties intend to seek a protective order or clawback agreement?

          If yes, such order or agreement shall be produced to the Court by - see above.

 8.       DISPOSITIVE MOTIONS

      a. Any dispositive motions shall be filed by February 15, 2025.

      b. Are the parties requesting expedited briefing on dispositive motions?

                Yes      X     No

          If yes, identify the proposed expedited schedule:
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          Opposition to be filed by not applicable; Reply brief to be filed by not applicable.

 9.       EXPERT TESTIMONY

       a. Primary expert reports must be produced by October 1, 2024.

       b. Rebuttal expert reports must be produced by November 1, 2024.

 10.      SETTLEMENT

Plaintiffs made a settlement demand on September 5, 2023. Defendants are in active discussions
with their insurance carrier about a response to the offer, but the insurance carrier has not yet
provided Quantasy with any authorization for any settlement. The Quantasy Defendants expect
that this will be forthcoming in the near future, and they will provide a response as soon as
practicable after receiving authorization from the carrier. The parties agree to make a good faith
effort to settle this case. The parties understand that this case will be referred to an attorney
mediator, or to the Magistrate Judge, for a settlement conference. The Court refers cases to
settlement throughout the year. The parties request the following month and year: The parties have
discussed potential private mediation and will keep the Court informed on this issue.

 In order for the conference to be meaningful, the parties agree to complete all discovery that may
 affect their ability to evaluate this case prior to the settlement conference. The parties understand
 that they will be expected to comply fully with the settlement conference orders which require,
 inter alia, that settlement demands and offers be exchanged prior to the conference and that
 principals of the parties attend the conference.

 11.      RULE 16 PRETRIAL CONFERENCE

 Do the parties request a scheduling conference?

  X    Yes, the parties would like a conference with the Court prior to it issuing a scheduling
 order. The parties request that the conference take place in chambers
        X telephone
        by see below

       No, a conference is not necessary; the Court may issue a scheduling order after
 considering this Report.

The parties defer to the Court’s judgment on whether a telephone conference is necessary.
Given the complexities associated with Mr. Silver’s imprisonment, the Court may wish to
discuss this with the parties to chart a course going forward.

 12.      OTHER MATTERS

 Indicate any other matters for the Court’s consideration:

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The parties advise the Court that this Report was prepared without the assistance or input of
Defendants, Brinson Silver, Collateral Damage, LLC, Eclipse Home Design, LLC and/or Paige
McDaniel. Mr. Silver is currently in prison awaiting sentencing by Judge Edmund A. Sargus.
Collateral Damage, LLC and Eclipse Home Design, LLC are controlled by Mr. Silver and neither
have retained counsel as ordered by the Court. Ms. McDaniel has not substantively participated in
the litigation.

Signatures:

/s/ William D. Kloss, Jr.                             /s/ Matthew D. Ridings
William D. Kloss, Jr. (0040854), Trial Attorney       Matthew D. Ridings (0079402), Trial Attorney
Elizabeth S. Alexander (0096401)                      THOMPSON HINE LLP
Grace E. Saalman (0101603)                            127 Public Square
VORYS, SATER, SEYMOUR AND PEASE LLP                   3900 Key Center
52 East Gay Street, P.O. Box 1008                     Cleveland, OH 44114
Columbus, Ohio 43216-1008                             Phone: (216-566-5561
Phone: (614) 464-6360                                 Fax: $216) 566-5800
Fax: (614) 719-4807                                   Matt.Ridings@ThompsonHine.com
wdklossjr@vorys.com
esalexander@vorys.com                                 /s/ Joshua H. Epstein
gesaalman@vorys.com                                   Joshua H. Epstein
                                                      (Admitted Pro Hac Vice)
Attorneys for Plaintiffs                              DAVIS+GILBERT LLP
                                                      1675 Broadway
                                                      New York, NY 10019
                                                      jepstein@dglaw.com

                                                      Attorneys for Defendants William Campbell,
                                                      Quantasy, LLC and Quantasy & Associates,
                                                      LLC

Date: January 25, 2024




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